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1                    IN THE UNITED STATES BANKRUPTCY COURT

2                      FOR THE SOUTHERN DISTRICT OF TEXAS

3                                HOUSTON DIVISION

4      QUINLAN, ET AL                §          CASE NO. 23-03141-ADV
                                     §          HOUSTON, TEXAS
5      VERSUS                        §          THURSDAY,
                                     §          OCTOBER 3, 2024
6      JETALL COMPANIES, INC., ET AL §          10:15 A.M. TO 10:23 A.M.

7                   EMERGENCY DEPOSITION DISPUTE (VIA ZOOM)

8                   BEFORE THE HONORABLE JEFFREY P. NORMAN
                        UNITED STATES BANKRUPTCY JUDGE
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11

12           APPEARANCES:                       SEE NEXT PAGE

13           ERO:                               (Name not noted in the
                                                log notes)
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1                            APPEARANCES (VIA ZOOM):

2

3      FOR THE PLAINTIFF:                 HOOVER SLOVACEK, LLP
                                          Steven A. Leyh, Esq.
4                                         5051 Westheimer Road
                                          Suite 1200
5                                         Houston, TX 77024
                                          713-977-8686
6

7

8      FOR THE DEFENDANT:                 THE POPE LAW FIRM
                                          James Q. Pope, Esq.
9                                         6161 Savoy Drive
                                          Suite 1125
10                                        Houston, TX 77036
                                          713-449-4481
11

12     FOR JETALL COMPANIES:              MACGEORGE LAW FIRM, PLLC
                                          Jennifer L. MacGeorge, Esq.
13                                        1001 West Loop S., Ste. 700
                                          Houston, TX 77027
14                                        713-560-2737

15

16     FOR 2727 KIRBY 26L, LLC:           Paul Kirkland, Esq.

17

18     FOR SHAHNAZ CHOUDHRI:              PARKINS & RUBIO, LLP
                                          Leonard Parkins, Esq.
19                                        708 Main St., 10th Fl.
                                          Houston, TX 77002-3246
20                                        713-715-1660

21     FOR ALI CHOUDHRI:                  Ali Choudhri, Pro Se
                                          2425 West Loop South
22                                        Suite 1200
                                          Houston, TX 77056
23

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1          HOUSTON, TEXAS; THURSDAY, OCTOBER 3, 2024; 10:15 A.M.

2                  THE COURT:    All right.    So just so the Record is

3      clear, I'm sitting in Laredo at this point in time.           I'm not

4      sure, can you guys actually see me or not?          Everybody turned

5      on the camera in front of you?

6                  MR. POPE:    We cannot see you, Your Honor, but we

7      can hear you.

8                  THE COURT:    Okay.   That's fine.

9                  So the Record is clear, I'm sitting in Laredo.

10     Apparently there's been some sort of discovery dispute in

11     Houston.    I've been asked for a discovery conference and so

12     I'm here, but other than knowing that we have a dispute and

13     you wanted a discovery conference, I really don't know

14     anything else at this point in time.

15                 So first and foremost, I need the adversary case

16     number in which the discovery dispute is arising.

17                 MR. POPE:    Your Honor, the Case Number 23-03141.

18                 THE COURT:    All right.    Bear with me one second

19     while I pull up the Docket in that case.

20           (Pause in the proceedings.)

21                 THE COURT:    All right.    So Adversary

22     Number 23-3141 is John Quinlan, Plaintiff, et al against

23     Jetall Companies and a number of other Defendants.

24                 So tell me what the dispute it -- first of all,

25     let me ask for appearances, who represents whom in this




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1      case, and we'll go from there.

2                   MR. LEYH:    All right.    Good morning, Your Honor.

3      Steven Leyh on behalf of the Plaintiffs.

4                   THE COURT:    Okay.   Mr. Leyh.

5                   MR. POPE:    And Your Honor, James Pope here on

6      behalf of some of the Defendants.        Part of what's at issue

7      is that Mr. Choudhri had filed a Notice of Appearance Pro Se

8      to inform me that he wants to take over pro se.

9                   Mrs. -- or Ms. Choudhri, his mother, has also

10     retained counsel by the name Leonard Parkins, who's here.

11     That's part of the change today, but otherwise, I'm here for

12     the other Defendants other than Mr. Choudhri in his

13     individual capacity and his mother, Shahnaz Choudhri, in her

14     individual capacity.

15                  THE COURT:    All right.    So go ahead.

16                  MS. MACGEORGE:    Your Honor, my name is Jennifer

17     MacGeorge.    I'm an attorney pursuant to a limited scope

18     appearance.    And on behalf of Jetall Companies, Inc. for the

19     purpose of taking a deposition today.

20                  MR. KIRKLAND:    I'm Paul Kirkland.     I'm here

21     representing 2727 Kirby 26L, LLC.

22                  THE COURT:    One more time, sir, because you broke

23     up and I'm not sure.      I didn't catch your name.

24                  MR. KIRKLAND:    Paul Kirkland.

25                  THE COURT:    And Mr. Kirkland, who do you




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1      represent?

2                   MR. KIRKLAND:     2727 Kirby 26L, LLC.

3                   THE COURT:     All right.   Thank you, sir.

4                   Anyone else?

5                   MR. PARKINS:     Yes, Your Honor.   Good morning.

6      Leonard Parkins of the firm of Parkins & Rubio.           We are

7      being retained for the limited purposes of representing

8      Mrs. Choudhri, Mr. Ali Choudhri's mother, who is one of the

9      named Defendants in this case for the purpose of this

10     deposition.

11                  Again, good morning, Your Honor.

12                  THE COURT:     Good morning.   Thank you.

13                  MR. CHOUDHRI:     Good morning, Your Honor.     Ali

14     Choudhri, pro se.

15                  THE COURT:     All right.   Mr. Leyh, or Mr. Pope,

16     what is the dispute?

17                  MR. LEYH:    The dispute, Your Honor, is that

18     Mr. Choudhri is now appeared and wants to participate pro

19     se.   Last week in the Texas Reit case, which is pending in

20     the Western District, Mr. Choudhri did the same thing and

21     kept Omar Khawaja on there for 6-1/2 hours.

22                  They were supposed to be there to talk about a

23     proof of claim.     Instead, we talked about everything he

24     could think of, including whether or not we bribed you.

25                  So I don't want to do that again today with him.




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1                   THE COURT:    And so what are you asking?

2                   MR. LEYH:    That he not be allowed to ask

3      questions.    He can come and sit and watch, listen, but I

4      don't want to go through that again.

5                   THE COURT:    All right.    So Mr. Choudhri, do you

6      want to -- I mean, at this point in time I'm trying to

7      figure out, because the Docket is basically very, very long.

8      At this point in time who technical represents Mr. Choudhri?

9                   MR. CHOUDHRI:       Your Honor?

10                  THE COURT:    Mr. Choudhri, I don't want to hear

11     from you.    I want to hear from the lawyers right now.

12                  Who technically represents Mr. Choudhri right now?

13                  MR. LEYH:    James Pope, and he's not withdrawn.

14                  MR. POPE:    Although I have not filed a withdrawal,

15     Your Honor, Mr. Choudhri has discharged me from my services

16     as of this morning.       He says he represents himself.

17                  I did file a --

18                  THE COURT:    Well, here's the problem with that,

19     Mr. Pope.    You're on the case until I let you off, okay?

20                  MR. POPE:    Yes.

21                  THE COURT:    Mr. Choudhri can discharge you and

22     that's fine, but I'm only going to allow the lawyers who

23     have appeared in the case as counsel to basically question

24     the witnesses at this point in time, okay?

25                  If you want to represent a party and ask




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1      questions, then you need to ask permission, okay?           If there

2      are lawyers who currently represent the parties, those are

3      the parties who basically are going to conduct the

4      deposition.

5                  You don't come to Court the morning of a

6      deposition and say we're changing the parties up, we're

7      changing representation up, it doesn't work like that.

8                  The parties who represent the parties who at this

9      point in time are the parties who get to participate in the

10     deposition.    It's that simple, okay?       Because that's the way

11     the rules work.     All right?

12                 So if there are parties there who are represented

13     by lawyers who have appeared, have answered, okay?           They get

14     to participate.     Otherwise, they don't.      It's that simple.

15                 MR. POPE:    Your Honor, but we do have some counsel

16     who are appearing as co-counsel for Jetall Companies,

17     Shahnaz Choudhri, and --

18                 THE COURT:    And Mr. Pope?    Mr. Pope?    Mr. Pope,

19     like I said, you don't just show up the morning of the depo

20     with a bunch of other lawyers and say we want to

21     participate.    You represent all of these parties and if you

22     do, you're the lawyer that speaks for them.          End of story.

23                 Now, if they want to confer with you, all right,

24     and to ask you to ask questions, I don't have any problem

25     with that, but you're the guy.       You've been the guy.      You've




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1      appeared for all these people and you get to basically

2      participate in the deposition.         No one else does.

3            (Pause in the proceedings.)

4                   THE COURT:    Okay.     Mr. Leyh, is there any other

5      issues that I need to resolve for you?

6                   MR. LEYH:    No, sir.    I think that's crystal clear,

7      Your Honor.

8                   THE COURT:    Okay.     And so I'm here.    If you have

9      another problem, you let me know and we'll come back on

10     video.     Okay?

11                  MR. POPE:    Your Honor, could we urge an emergency

12     motion at this time to have the appearances for counsel of

13     Ms. Shahnaz Choudhri to --

14                  THE COURT:    No, not at this late hour.       No.     These

15     have been in the works for quite a long time, Mr. Pope.               And

16     for you to show up at the late minute, the last minute, and

17     ask for this kind of relief, no.         It doesn't work like that.

18     It's never going to work like that.

19                  Go forward, please.       Get the depositions taken

20     care of.

21                  MR. POPE:    Thank you, Your Honor.

22                  MR. LEYH:    Thank you, Your Honor.

23                  THE COURT:    All right.     You-all are excused.

24                  Thank you.

25           (Hearing concluded at 10:23 a.m.)




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2                    I certify that the foregoing is a correct

3      transcript to the best of my ability from the electronic

4      sound recording of the ZOOM/video/telephonic proceedings in

5      the above-entitled matter.

6      /S/ MARY D. HENRY
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